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                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA




 IN RE: PROCESSED EGG PRODUCTS                           Docket No: 08-md-02002
 ANTITRUST LITIGATION                                    MDL No. 2002


 THIS DOCUMENT APPLIES TO:

 ALL DIRECT ACTION PLAINTIFFS’ CASES




         DAPS’ MOTION TO STRIKE DEFENDANTS’ UNTIMELY DAUBERT MOTION
                         AND UNTIMELY EXPERT REPORT

       Pursuant to the Court’s Case Management Orders and the Federal Rules of Civil Procedure,

the Direct Action Plaintiffs (“DAPs”), through counsel, move for an Order from this Court striking

Certain Defendants’ Motion in Limine To Exclude Dr. Baye’s Damages Calculations (the “Daubert

Motion”) and the Declaration of Dr. Walker (the “Walker Surrebuttal”), Dkts. 1529 & 1530, because

both filings violate the Court’s deadlines by more than two years.

       The grounds and reasons for granting this relief are explained in detail in the accompanying

memorandum of law (including the supporting exhibits), which have been filed under seal as required

by the Court’s Protective Order, Dkt. 50.
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Dated: August 25, 2017                             Respectfully submitted,




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                                      CERTIFICATE OF SERVICE

           I certify that on August 25, 2017, I caused a true and correct copy of the foregoing document

to be filed on CM/ECF.




                                                           By: /s/ Samuel J. Randall
                                                                   Samuel J. Randall




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